Case 3:20-cv-02157-WQH-AGS Document 55 Filed 05/16/22 PageID.179 Page 1 of 3




  1 KELLY KLAUS (State Bar No. 161091)
    Kelly.Klaus@mto.com
  2
    DANE SHIKMAN (State Bar No. 313656)
  3 Dane.Shikman@mto.com
    MUNGER, TOLLES & OLSON LLP
  4
    350 South Grand Avenue, Fiftieth Floor
  5 Los Angeles, CA 90071-3426
    Telephone: (213) 683-9100
  6
    Facsimile: (213) 687-3702
  7
    XIAONAN APRIL HU (State Bar No. 321354)
  8
    April.Hu@mto.com
  9 MUNGER, TOLLES & OLSON LLP
 10 601 Massachusetts Ave. NW. Suite 500E
    Washington, D.C. 20001-5369
 11 Telephone: (202) 220-1100
 12 Facsimile: (202) 220-2300
 13 Attorneys for Plaintiffs Cosimo Cavallaro
 14 and Art Above Ground
 15
                           UNITED STATES DISTRICT COURT
 16
                        SOUTHERN DISTRICT OF CALIFORNIA
 17
 18
      Cosimo Cavallaro, Art Above Ground,        Case No. 3:20-cv-02157-WQH-AGS
 19
                 Plaintiffs,                     JOINT NOTICE OF
 20                                              SETTLEMENT AND REQUEST
           vs.                                   TO TAKE UPCOMING
 21                                              DEADLINES AND HEARING OFF
      SLSCO Ltd., Ultimate Concrete LLC,         CALENDAR
 22
                 Defendants.                     District Judge: Hon. William Q. Hayes
 23                                              Magistrate Judge: Hon. Andrew G.
 24                                              Schopler

 25
 26
 27
 28
                                                           Case No. 3:20-cv-02157-WQH-AGS
         JOINT NOTICE OF SETTLEMENT AND REQUEST TO TAKE UPCOMING DEADLINES AND
                                 HEARING OFF CALENDAR
Case 3:20-cv-02157-WQH-AGS Document 55 Filed 05/16/22 PageID.180 Page 2 of 3




  1           Plaintiffs Cosimo Cavallaro and Art Above Ground (“Plaintiffs”) and
  2 Defendants SLSCO Ltd. (“SLSCO”) and Ultimate Concrete LLC (“Ultimate
  3 Concrete”) (collectively, “Defendants”) submit this joint notice to inform the Court
  4 that Plaintiffs and Defendants have reached a settlement in this matter. The parties
  5 are in the process of memorializing the settlement and anticipate being in a position
  6 to file a joint motion to dismiss this action within the next 14 days.
  7           In light of the foregoing, the parties jointly request that the Court take all
  8 pending deadlines off calendar, including the following:
  9                       Event                                       Deadline
 10   Submission of Proposed Pretrial Order          May 13, 2022
      by Plaintiffs to Defendants
 11
      Proposed Final Pretrial Conference             May 20, 2022
 12   Order Lodged with Court
 13   Final Pre-Trial Conference                     May 27, 2022, at 11:00 a.m.
 14
 15           The parties further jointly request that the Court set a deadline for the parties
 16 to file a Joint Motion to Dismiss, and propose June 3, 2022 as that deadline.
 17
 18           I, Dane Shikman, Esq., am the filer of the foregoing Joint Motion, and hereby

 19 certify that, pursuant to Section 2(f) of the Electronic Case Filings Administrative
 20 Policies and Procedures Manual, the contents of this document are acceptable to all
 21 persons required to sign the document, and I have authorization to file this document
 22 with all “s/” electronic signatures appearing herein which are not my own.
 23 / / /
 24 / / /
 25
 26
 27
 28
                                              -2-             Case No. 3:20-cv-02157-WQH-AGS
            JOINT NOTICE OF SETTLEMENT AND REQUEST TO TAKE UPCOMING DEADLINES AND
                                    HEARING OFF CALENDAR
Case 3:20-cv-02157-WQH-AGS Document 55 Filed 05/16/22 PageID.181 Page 3 of 3




  1 DATED: May 16, 2022                  MUNGER, TOLLES & OLSON LLP
  2
  3
                                         By:         /s/ Dane Shikman
  4
                                               Dane Shikman
  5                                            Xiaonan April Hu
  6                                            Kelly M. Klaus
                                               Attorneys for Plaintiffs Cosimo Cavallaro
  7                                            and Art Above Ground
  8
  9
 10
      DATED: May 16, 2022                PROCOPIO, CORY, HARGREAVES &
 11                                      SAVITCH LLP
 12
 13
                                         By:         /s/ Sean M. Sullivan
 14
                                               Sean M. Sullivan
 15                                            Attorneys for Defendant SLSCO Ltd.
 16
 17 DATED: May 16, 2022                  BALESTRERI POTOCKI & HOLMES

 18
 19
                                         By:         /s/ Thomas Balestreri
 20                                            Thomas Balestreri
 21                                            Attorneys for Defendant Ultimate
                                               Concrete LLC
 22
 23
 24
 25
 26
 27
 28
                                           -3-             Case No. 3:20-cv-02157-WQH-AGS
         JOINT NOTICE OF SETTLEMENT AND REQUEST TO TAKE UPCOMING DEADLINES AND
                                 HEARING OFF CALENDAR
